Case 19-11372-btb Doc 17 Entered 03/27/19 00:03:58 Page 1 of 6

Fil| in this information to identify your case:

JOEL CROSBY S|NNO`|'|'

 
 

 

 

Debtor 1
First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: District of Nevada E

El Check if this is an
amended filing

19-1 1372-BTB

Case number
(|f known)

Oflicial Form 106E/F
Schedule ElF: Creditors Who Have Unsecured Claims

Be as complete and accurate as possib|e. Use Part 1 for creditors with PR|OR|TY claims and Part 2 for creditors with NONPR|OR|TY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. A|so list executory contracts on Schedule
A/B: Property (Official Form 106AIB) and on Schedule G: Execut‘ory Contracts and Unexpired Leases (Official Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. lf more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

 

 

12I15

m List All of Your PR|OR|TY Unsecured Claims

 

1. Do any creditors have priority unsecured claims against you?

No. Go to Part 2.
n Yes.

2. List all of your priority unsecured claims. lf a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. lf a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. lf you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

2.1

 

 

 

Priority Creditors Name

 

Number Street

 

 

City State ZlP Code

Who incurred the debt? Check one.

n Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

\;l Check if this claim is for a community debt

ls the claim subject to offset?

\;l No
n Yes

151

 

Priority Creditors Name

 

Number Street

 

 

City State ZlP Code

Who incurred the debt? Check one.

n Debtor1 only

n Debtor 2 only

\;l Debtor1 and Debtor 2 only

n At least one of the debtors and another

\;l Check if this claim is for a community debt

ls the claim subject to offset?

El No
\;l Yes

Ofiicial Form 106E/F

Schedu|e ElF: Creditors Who Have Unsecured Claims

Tota| claim Priority

amount

Nonpriority
amount

Last 4 digits of account number _ _ $ $ $

When was the debt incurred?

As of the date you fi|e, the claim is: Check all that apply.
\;l Contingent

El unliquidated

El Disputed

Type of PR|OR|TY unsecured claim:
a Domestic support obligations
\;l Taxes and certain other debts you owe the government

\;l Claims for death or personal injury while you were
intoxicated

a Other. Specify

 

Last 4 digits of account number _ _ _ _ $ $ $

When was the debt incurred?

As of the date you fi|e, the claim is: Check all that apply.
a Contingent

El unliquidated

\;l Disputed

Type of PR|OR|TY unsecured claim:
n Domestic support obligations
\;l Taxes and certain other debts you owe the government

a Claims for death or personal injury while you were
intoxicated

a Other. Specify

 

page 1 of _

Debtor 1

JOEL csas@\lslltueirz-btb Doc 17 Entered 03/27/1§599”9,§,:(”§§,,",lea@sa-dt§

 

First Name Middle Name

Last Name

 

m Your PR|0R|TY Unsecured Claims - Continuation Page

 

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

|:|

 

 

 

 

Priority Creditors Name
Number Street
City State ZlP Code

Who incurred the debt? Check one.

n Debtor1 only

n Debtor 2 only

\;l Debtor1 and Debtor 2 only

\;l At least one of the debtors and another

\:l Check if this claim is for a community debt

ls the claim subject to offset?

 

 

 

 

n No

\;l Yes

Priority Creditor‘s Name

Number Street

City State ZlP Code

Who incurred the debt? Check one.

\;l Debtor1 only

\;l Debtor 2 only

n Debtor1 and Debtor 2 only

cl At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

\;l No
a Yes

 

Priority Creditors Name

 

Number Street

 

 

City State ZlP Code

Who incurred the debt? Check one.

n Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

\;l At least one of the debtors and another

cl Check if this claim is for a community debt

ls the claim subject to offset?

cl No
\;l Yes

Ochial Form 106E/F

Tota| claim Priority

amount

Last 4 digits of account number _ _ $ $
When was the debt incurred?

As of the date you fi|e, the claim is: Check all that apply.

\;l Contingent
a Unliquidated
a Disputed

Type of PR|OR|TY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Specify

U UUU

 

Last 4 digits of account number _ _ $ $
When was the debt incurred?

As of the date you fi|e, the claim is: Check all that apply.

n Contingent
El unliquidated
\;l Disputed

Type of PR|OR|TY unsecured claim:

\;l Domestic support obligations
\;l Taxes and certain other debts you owe the government

cl Claims for death or personal injury while you were
intoxicated

n Other. Specify

 

Last 4 digits of account number _ _
When was the debt incurred?

As of the date you fi|e, the claim is: Check all that apply.

\;l Contingent
a Unliquidated
a Disputed

Type of PR|OR|TY unsecured claim:

n Domestic support obligations
\;l Taxes and certain other debts you owe the government

\;l Claims for death or personal injury while you were
intoxicated

\;l Other. Specify

 

Schedu|e ElF: Creditors Who Have Unsecured Claims

Nonpriority
amount

page _ of _

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First Name Middle Name Last Name

m List All of Your NONFR|°R|TY Unsecured Claims

 

 

3. Do any creditors have nonpriority unsecured claims against you?

n No. You have nothing to report in this part. Submit this form to the court with your other schedules.

m Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lf a creditor has more than one
nonpriority unsecured claiml list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

Barclays Bank Delaware

 

 

 

Nonpriority Creditor‘s Name

PO Box 8803

Number Street

Wilmington DE 19899
City State ZlP Code

Who incurred the debt? Check one.

2 Debtor1 only

\;l Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

\;l Check if this claim is for a community debt

ls the claim subject to offset?
g No
a Yes

Dept of Education / Navient

 

Nonpriority Creditol's Name

PO BOX 9635

 

Number Street

Wilkes-Barre PA 18773

 

City State ZlP Code

Who incurred the debt? Check one.

a Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?
a No
a Yes

Desert Radiologists

 

Nonpriority Creditors Name

 

Number Street

 

City State ZlP Code

Who incurred the debt? Check one.

a Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

\;l At least one of the debtors and another

\;l Check if this claim is for a community debt

ls the claim subject to offset?
a No
\;l Yes

Ochial Form 106E/F

Schedu|e ElF: Creditors Who Have Unsecured Claims

Tota| claim

Last 4 digits of account number_7 § § l $ 41434_72

When was the debt incurred? 02/05/2007

As of the date you fi|e, the claim is: Check all that apply.

\;l Contingent
Unliquidated
\;l Disputed

Type of NONPR|OR|TY unsecured claim:

\;l Student loans

\;l Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

\;l Debts to pension or profit-sharing plans, and other similar debts

v Other. Specify Credit Cal'd

 

Last 4 digits of account number _2 _8 _4 _1 $M
When was the debt incurred? 03/31/2010

As of the date you fi|e, the claim is: Check all that apply.

\;l Contingent
a Unliquidated
a Disputed

Type of NONPR|CR|TY unsecured claim:

g Student loans

a Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

a Other. Specify

 

Last 4 digits of account number _3 _4 _2 _O 781_20
When was the debt incurred? 10/27/2015 _

As of the date you fi|e, the claim is: Check all that apply.

n Contingent
U unliquidated
\;l Disputed

Type of NONPR|OR|TY unsecured claim:

a Student loans

\;l Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
a Debts to pension or profit-sharing plans, and other similar debts

U other. specify 5 medical bills

 

page _ of _

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First Name Middle Name Last Name

er (lrknewn)

M Your NONPR|OR|TY Unsecured Claims - Continuation Fage

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

 

 

 

 

 

 

 

Nonpriority Creditors Name
Number Street
City State ZlP Code

Who incurred the debt? Check one.

n Debtor1 only

n Debtor 2 only

\;l Debtor1 and Debtor 2 only

\;l At least one of the debtors and another

\:l Check if this claim is for a community debt

ls the claim subject to offset?

\;l No
\;l Yes

 

 

 

 

 

Nonpriority Creditors Name

 

Number Street

 

City State ZlP Code

Who incurred the debt? Check one.

\;l Debtor1 only

\;l Debtor 2 only

n Debtor1 and Debtor 2 only

a At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

 

 

 

\;l No

n Yes

Nonpriority Creditor’s Name

Number Street

City State ZlP Code

Who incurred the debt? Check one.

\;l Debtor1 only

El Debtor 2 only

\;l Debtor1 and Debtor 2 only

n At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

a No
a Yes

Ochial Form 106E/F

Last 4 digits of account number _ _
When was the debt incurred?

As of the date you fi|e, the claim is: Check all that apply.

n Contingent
El unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
n Debts to pension or proHt-sharing plans, and other similar debts

\;l Other. Specify

 

Last 4 digits of account number _ _ _ _ $
When was the debt incurred?

As of the date you fi|e, the claim is: Check all that app|y.

n Contingent
El unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

\;l Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

n Other. Specify

Last 4 digits of account number _ _
When was the debt incurred?

As of the date you fi|e, the claim is: Check all that app|y.

n Contingent
El unliquidated
El Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

\;l Other. Specify

 

Schedu|e ElF: Creditors Who Have Unsecured Claims page _ of

Debtor 1

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First Name

Middle Name

Last Name

 

m List others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Simi|ar|y, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. |f you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

PLUSFOUR, |NC.

 

Name

6345 Pecos Road, Suite 212

 

Number

Street

 

Las Vegas NV

89120

 

city

State

ZlP Code

 

Name

 

Number

Street

 

 

city

State

ZlP Code

 

Name

 

Number

Street

 

 

city

State

ZlP Code

 

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city

State

ZlP Code

 

Name

 

Number

Street

 

 

city

State

Ochial Form 106E/F

ZlP Code

Schedu|e ElF: Creditors Who Have Unsecured Claims

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.3 of (Check one): El Part 1: Creditors with Priority Unsecured Claims
g Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number _3 1 l l

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): El Part 1: Creditors with Priority Unsecured Claims

El Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number _

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): El Part 1: Creditors with Priority Unsecured Claims

El Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number _ _
On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): El Part 1: Creditors with Priority Unsecured Claims

|;l Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number _

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): El Part 1: Creditors with Priority Unsecured Claims

|;l Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number _ _
On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): El Part 1: Creditors with Priority Unsecured Claims

|;l Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number _

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): El Part 1: Creditors with Priority Unsecured Claims
El Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number _

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First Name Middle Name Last Name

Add the Amounts for Each Type of Unsecured claim

 

 

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes on|y. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claims
from Part1

Total claims
from Part 2

Official Form 106E/F

6a.

6b.

6c.

6d.

6e.

6h.

6i.

Domestic support obligations

Taxes and certain other debts you owe the
government

Claims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Tota|. Add lines 6a through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Tota|. Add lines 6f through 6i.

6a.

6b.

60.

6d.

6e.

6f.

69.

6h.

6i.

sj.

 

 

 

 

 

 

Total claim
$ 0.00
$ 0.00
$ 0.00
+ $ 0.00
$ 0.00
Total claim
$ 419.11
$ 0.00
$ 0.00
+ $ 5,215.92
$ 5,635.03

 

 

Schedu|e ElF: Creditors Who Have Unsecured Claims

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